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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — SOUTHERN DIVISION

MATTHEW MORENO, CASE NO.: 8:19-cv-02489 AB (FFMx)
[Removed from Orange County Superior
Plaintiff, ourt — Case No. 30-2019-01113061-CU-
BC-CJC]
vs.
ORDER OF DISMISSAL WITH
FORD MOTOR COMPANY, INC.; PREJUDICE
and DOES 1-50, inclusive,
Defendants. Action Filed: November 20, 2019

 

 

 

Plaintiff MATTHEW MORENO and defendant FORD MOTOR
COMPANY, by and through their respective attorneys of record, stipulate that the entire
action be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(i1) of the Federal
Rules of Civil Procedure. The parties further stipulate that each side shall be responsible
for and bear its own costs, expenses and attorney's fees.

THEREFORE, IT IS HEREBY ORDERED that the entire action is dismissed with

prejudice.
IT IS SO ORDERED. |
Dated: December © , 2021 By: :
FRAN. ANDRE BIROTTE, JR.

UNITED STATES DISTRICT
COURT JUDGE

 

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